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                                                                       Friday, 15 February, 2019 10:17:39 AM
                                                                                 Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       Case No. 17-cr-20037-JES-JEH
                                              )
BRENDT A. CHRISTENSEN,                        )
                                              )
                       Defendant.             )

                                     ORDER AND OPINION
       Now before the Court is Defendant Brendt A. Christensen’s Motion (Doc. 113) to Strike

Notice of Intent to Seek the Death Penalty on the Ground that Capital Punishment Violates the

Eighth Amendment. The United States has filed a Response (Doc. 125), and this matter is fully

briefed. For the reasons set forth below, Defendant’s Motion (Doc. 113) is DENIED.

                                          BACKGROUND

       Defendant Brendt A. Christensen was arrested by federal agents on June 30, 2017,

pursuant to a criminal complaint which charged him with the kidnapping of Yingying Zhang, a

female Chinese national, in violation of 18 U.S.C. § 1201. Doc. 1. Christensen was later indicted

by a federal grand jury sitting in the Urbana Division of the Central District of Illinois. See Doc.

13 (Indictment), Doc. 26 (Superseding Indictment). The Superseding Indictment charges

Christensen with kidnapping resulting in death, in violation of 18 U.S.C. § 1201(a)(1) (Count 1),

and making false statements to FBI agents investigating Yingying Zhang’s disappearance, in

violation of 18 U.S.C. § 1001(a)(2) (Counts 2, 3). Doc. 26. The Superseding Indictment returned

by the grand jury also included a notice of special findings regarding the nature of the offense

charged in Count 1, including that the death of the victim was intentional, that it occurred during

the commission of kidnapping, that it was committed in an especially heinous, cruel, or depraved
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manner, and that Defendant committed the offense after substantial planning and premeditation.

Id. The special findings alleged in the Superseding Indictment made the case eligible for capital

punishment. See 18 U.S.C. § 3591 et seq. On January 19, 2018, the United States filed its Notice

of Intent to Seek a Sentence of Death. Doc. 54; see also 18 U.S.C. § 3593(a).

          In the instant Motion, Defendant asks this Court to strike the Notice of Intent to Seek a

Sentence of Death on the basis that the death penalty constitutes cruel and unusual punishment in

violation of the Eighth Amendment to the United States Constitution. Specifically, Defendant

argues:

          Mr. Christensen moves to strike that notice [of intent to seek the death penalty]
          because the evidence strongly suggests that imposition of capital punishment in the
          United States is no longer consonant with the values of a progressive 21st Century
          society and thus violates the Eighth Amendment. M[r]. Christensen is aware of this
          Court’s duty to apply the doctrine of stare decisis and that the Supreme Court has
          not, as yet, declared capital punishment unconstitutional – indeed it has not
          revisited the issue of the constitutionality per se of the death penalty since the Gregg
          line of cases in 1976.

Doc. 113, at 2. Defendant goes on to assure the Court that it can discount binding precedent

based on “special justifications” present in this case:

          Mr. Christensen acknowledges the Court’s obligation to give due consideration to
          the doctrine of stare decisis. But the protections afforded by the Eighth
          Amendment’s prohibition of cruel and unusual punishment require reconsideration
          when necessary to ensure that its underlying values have not become moribund by
          later developments and knowledge. This Court can therefore discount precedent
          when “special justifications” are present. Arizona v. Rumsey, 467 U.S. 203, 212
          (1984). [quotation from Payne v. Tennessee, 501 U.S. 808, 849 (1991) (Marshall,
          J., dissenting) omitted.]

          While the above relates to the Supreme Court reconsidering its own precedents, the
          doctrine of anticipatory overruling, which allows a lower court to reject precedent
          where circumstances have changed, applies to both courts of appeals, see United
          States v. City of Philadelphia, 644 F.2d 187, 191-92 (3d Cir. 1980) (declining to
          follow Wyandotte Transportation Co. v. United States, finding it “merely one step
          in the development of current standards” and refusing to be “blind to subsequent
          developments. . .”); United States v. White, 405 F.2d 838, 847-48 (7th Cir. 1969)
          (declining to follow On Lee v. United States, even though factually “directly on

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         point” because of subsequent developments); and to lower courts, especially when
         called upon to reconsider issues of overriding constitutional importance. See
         Barnette v. West Virginia Board of Education, 47 F. Supp. 251 (S.D. West Virginia)
         (1942) (refusing to follow Supreme Court decision in Minersville School District v.
         Gobitis, 310 U.S. 586 (1940), holding that public schools could require students to
         salute the flag and recite the Pledge of Allegiance over their religious objections as
         Jehovah’s Witnesses), affirmed in West Virginia State Board of Education v.
         Barnette, 319 U.S. 643 (1943) (overruling Minersville School District); Gebhart v.
         Belton, 87 A.2d 862 (Del. Ch. 1952), affirmed 91 A.2d 137 (De. 1952) (Delaware
         Chancellor Collins Seitz (later Chief Judge of the Third Circuit) orders public
         schools integrated despite Supreme Court decision in Plessy v. Ferguson, 163 U.S.
         537 (1896)), affirmed in Brown v. Board of Education, 347 U.S. 483 (1954).

Doc. 113, at 37–38.

         The United States responded to Defendant’s Motion, arguing that the Supreme Court’s

decision in Gregg v. Georgia, 428 U.S. 153, 187 (1976), forecloses Defendant’s challenge. 1 Doc.

125. This Order follows.

                                                LEGAL STANDARD

         “[I]t is settled that capital punishment is constitutional.” Glossip v. Gross, 135 S. Ct.

2726, 2732, (2015) (citing Baze v. Rees, 553 U.S. 35, 47 (2008)); see also Gregg v. Georgia, 428

U.S. 153, 187 (1976).

                                                   DISCUSSION

         Defendant opens his Motion by asserting that, “[o]n the last day of the [ ] 2014–2015

Term, Justices Breyer and Ginsberg issued a clarion call for reconsideration of the

constitutionality of the death penalty ….” Doc. 113, at 1 (citing Glossip v. Gross, 135 S. Ct.

2726, 2760) (2015) (Breyer and Ginsburg, JJ., dissenting). He proceeds to argue that this Court

can and should hold that the death penalty is so out of step with contemporary standards of



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  The United States also raises the issue whether Defendant’s Motion is ripe for disposition at this time. Doc. 125, at
2 n.1. However, because a ruling in favor of Defendant would make many of the procedures in a capital case (e.g., a
jury trial on the issue of punishment) unnecessary, the Court believes it is appropriate to address Defendant’s Motion
at this time.

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decency as to violate the Eighth Amendment prohibition on cruel and unusual punishment. The

problem with Defendant’s reference to Glossip is not its persuasiveness, but rather its pagination.

It is true that Justices Breyer and Ginsburg authored a dissent in Glossip stating their belief that

the Supreme Court should take another look at the constitutionality of the death penalty. Glossip,

135 S. Ct. at 2755. But the majority again reiterated that, following Gregg, the death penalty

does not violate the Constitution. Glossip, 135 S. Ct. at 2732. The fact that Justices Breyer and

Ginsburg disagreed with that proposition does not make Gregg any less binding on this Court.

See Agostini v. Felton, 521 U.S. 203, 238 (1997) (“As we noted above, a judge’s stated belief that

a case should be overruled does not make it so.”).

       Defendant asserts that this Court may, under the so-called “doctrine of anticipatory

overruling,” disregard binding precedent so long as “special justifications” are present. Doc. 113,

at 38. That assertion is a particularly egregious misstatement of the law.

       We do not acknowledge, and we do not hold, that other courts should conclude our
       more recent cases have, by implication, overruled an earlier precedent. We reaffirm
       that “[i]f a precedent of this Court has direct application in a case, yet appears to
       rest on reasons rejected in some other line of decisions, the Court of Appeals should
       follow the case which directly controls, leaving to this Court the prerogative of
       overruling its own decisions.” Rodriguez de Quijas, supra, at 484, 109 S.Ct., at
       1921–1922. Adherence to this teaching by the District Court and Court of Appeals
       in this litigation does not insulate a legal principle on which they relied from our
       review to determine its continued vitality. The trial court acted within its discretion
       in entertaining the motion with supporting allegations, but it was also correct to
       recognize that the motion had to be denied unless and until this Court reinterpreted
       the binding precedent.

Agostini, 521 U.S. at 237–38; see also United States v. Vaughn, 722 F.3d 918, 926 (7th Cir. 2013)

(following Agostini’s command to leave to the Supreme Court “the prerogative of overruling its

own decisions”). Because Gregg and its progeny squarely foreclose Defendant’s constitutional

challenge to the death penalty, his Motion is denied.




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                                       CONCLUSION

       For the reasons set forth above, Defendant’s Motion (Doc. 113) to Strike Notice of Intent

to Seek the Death Penalty on the Ground that Capital Punishment Violates the Eighth

Amendment is DENIED.



              Signed on this 15th day of February, 2019.

                                            /s James E. Shadid
                                            James E. Shadid
                                            Chief United States District Judge




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